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20
                                UNITED STATES DISTRICT COURT
21
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
22
       UNITED STATES OF AMERICA,                     No. CV 24-2172
23
                   Plaintiff,                        COMPLAINT
24
                       v.
25
      FITNESS INTERNATIONAL, LLC
26         D/B/A LA FITNESS,
27                Defendant.
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                                                 1
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 1   THE UNITED STATES OF AMERICA alleges the following:
 2                                      I.       INTRODUCTION
 3          1.      Plaintiff United States brings this action against Defendant Fitness
 4   International, LLC d/b/a LA Fitness to enforce Title III of the Americans with
 5   Disabilities Act (ADA), 42 U.S.C. §§ 12181–89, and its implementing regulation, 28
 6   C.F.R. Part 36. Defendant is the largest chain of owner operated gym and fitness club
 7   facilities in the United States with over 700 facilities.
 8          2.      Ensuring equitable and inclusive access to physical activity is crucial for
 9   promoting health and well-being of all individuals, including those with disabilities. But
10   individuals with disabilities experienced disparities and harm because Defendant
11   operates inaccessible gym and fitness club facilities as detailed below.
12          3.      Title III of the ADA prohibits discrimination against individuals on the
13   basis of disability in the full and equal enjoyment of the goods, services, facilities,
14   privileges, advantages, and accommodations of places of public accommodation,
15   including gym and fitness facilities. 42 U.S.C. §§ 12181(7)(L), 12182(a); 28 C.F.R.
16   § 36.201(a).
17          4.      Defendant operates places of public accommodations and violates the ADA
18   by failing to ensure that its facilities:
19                  a.    give individuals with disabilities the opportunity to participate in or
20                        benefit from their services and facilities, 42 U.S.C.
21                        § 12182(b)(1)(A)(i); 28 C.F.R. § 36.202(a);
22                  b.    remove architectural barriers in existing facilities where such removal
23                        is readily achievable, 42 U.S.C. § 12182(b)(2)(A)(iv); 28 C.F.R.
24                        § 36.304(a);
25                  c.    ensure that facilities designed and constructed for first occupancy
26                        after January 26, 1993, are readily accessible to and usable by
27                        individuals with disabilities, 42 U.S.C. § 12183(a)(1); 28 C.F.R.
28                        § 36.401(c);
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 1                d.     maintain in operable working condition those features of facilities
 2                       and equipment that are required to be readily accessible to and usable
 3                       by individuals with disabilities, 28 C.F.R. § 36.211(a); and
 4                e.     not impose additional fees or surcharges to cover the costs of
 5                       measures necessary to provide individuals with disabilities with the
 6                       nondiscriminatory treatment required by the ADA, 42 U.S.C.
 7                       § 12182(b)(2)(A)(i); 28 C.F.R. § 36.301(c).
 8         5.     In passing the ADA, Congress identified “the Nation’s proper goals”
 9   regarding individuals with disabilities to include “equality of opportunity,” “independent
10   living” and “full participation.” 42 U.S.C. § 12101(a)(7). The ADA’s prohibition
11   against discrimination includes ensuring access to LA Fitness gym and fitness club
12   facilities and is essential to furthering the ADA’s purpose “to invoke the sweep of
13   congressional authority . . . to address the major areas of discrimination faced day-to-day
14   by people with disabilities.” 42 U.S.C. § 12101(b)(4).
15         6.     The United States brings this action based on a determination that: (1)
16   Defendant has engaged in a pattern or practice of discrimination and (2) Defendant
17   discriminated against a person or group of persons and that such discrimination raises an
18   issue of general public importance. The United States seeks declaratory and injunctive
19   relief, monetary damages, and a civil penalty against Defendant.
20                             II.    JURISDICTION AND VENUE
21         7.     This Court has jurisdiction over this action under 42 U.S.C.
22   § 12188(b)(1)(B) and 28 U.S.C. §§ 1331 and 1345. The Court may grant declaratory
23   relief and further necessary or proper relief pursuant to 28 U.S.C. §§ 2201-02, and may
24   grant equitable relief, monetary damages, and a civil penalty pursuant to 42 U.S.C.
25   § 12188(b)(2).
26         8.     Venue is proper in this Court because Defendant is a California limited
27   liability company that owns or operates gym and fitness club facilities in the United
28   States with its principal place of business in this District and a substantial part of the
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 1   events or omissions giving rise to the claim occurred in this District. 28 U.S.C. § 1391.
 2                                           III.   PARTIES
 3         9.     Plaintiff is the United States of America.
 4         10.    Defendant is Fitness International, LLC, d/b/a LA Fitness is a limited
 5   liability company organized under the laws of California. Defendant owns or operates
 6   gym and fitness club facilities that affect commerce in the United States. See
 7   42 U.S.C. § 12181. Defendant is a public accommodation because it owns or operates
 8   places of public accommodation—gymnasiums, health spas, or other places of exercise
 9   or recreation—within the meaning of 42 U.S.C. § 12181(7)(L).
10                                     IV.      ALLEGATIONS
11         11.    Defendant is the largest chain of owner operated gym and fitness club
12   facilities in the United States with over 700 facilities.
13         12.    Defendant engaged in a pattern or practice of discrimination and
14   discriminated against a person or group of persons by failing to provide full and equal
15   enjoyment of the goods, services, facilities, privileges, advantages, and accommodations
16   of places of public accommodation, and that discrimination raises an issue of general
17   public importance.
18         13.    Defendant denied an individual or group of individuals, on the basis of
19   disability, with the opportunity to participate in or benefit from a good, service, facility,
20   privilege, or accommodation.
21         14.    Defendant fails to maintain in operable working condition those features of
22   facilities and equipment that are required to be readily accessible to and usable by
23   individuals with disabilities.
24         15.    Defendant’s failure to maintain pool and spa lifts in operable working
25   condition has harmed Patron A, Patron B, Patron C, Patron D and other similarly
26   situated individuals with disabilities.
27         16.    Patron A has multiple sclerosis and is substantially limited in one or more
28   major life activities or major bodily functions, including neurological function, operation
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 1   of the central nervous system, and the ability to walk, and is an individual with a
 2   disability. 42 U.S.C. §§ 12102(1), (2); 28 C.F.R. § 36.105(d)(2)(iii).
 3         17.    Since January 2020, Patron A has frequented several LA Fitness facilities to
 4   swim for exercise. Swimming is essential for Patron A to manage her pain related to
 5   Multiple Sclerosis and is critical to maintain her quality of life.
 6         18.    Patron A has encountered inoperable pool lifts at the LA Fitness locations
 7   she frequents. Even when a pool lift appears to be working, Patron A has experienced
 8   being stuck and dangling over the water, requiring assistance from LA Fitness
 9   employees to exit the pool, and being unable to use the pool.
10         19.    Defendant’s failure to provide operable pool lifts has also harmed Patron B
11   who has cerebral palsy and quadriplegia and is substantially limited in one or more
12   major life activities or major bodily functions, including neurological function and the
13   ability to walk, and is an individual with a disability. 42 U.S.C. §§ 12102(1), (2); 28
14   C.F.R. § 36.105(d)(2)(iii).
15         20.    For several years, Patron B has frequented LA Fitness facilities to swim
16   several days a week, accompanied by his father, who is also a member. Swimming is the
17   only form of exercise available to Patron B. When the pool lift works, Patron B can
18   transfer himself out of the pool independently, but when the pool lift is not working, he
19   must crawl out of the pool and rely on others to help him transfer to his wheelchair.
20   Between early 2021 and early 2022, the pool lift was inoperable at the LA Fitness
21   facility that Patron B and his father frequented. During that period, Patron B was forced
22   to crawl out of the pool using the stairs, causing him physical discomfort and abrasions.
23   Upon crawling out of the pool, Patron B needed assistance from his father to get back
24   into his wheelchair. For years, Patron B’s father has notified LA Fitness facility and
25   corporate staff about the broken pool lifts, but these issues remain unresolved. LA
26   Fitness’s failure to fix broken pool lifts for extensive periods has caused Patron B
27   emotional distress.
28         21.    In 2023, that location closed, and Patron B and his father began to frequent
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 1   another LA Fitness location that, at first, lacked a working pool lift battery, and
 2   eventually, had a broken pool lift. As recently as July 2024, that LA Fitness facility’s
 3   pool lift remains inoperable and Patron B has to crawl out of the pool after swimming,
 4   continuing to cause him emotional and physical discomfort.
 5         22.    Patron C had polio as a child and cannot stand or walk. She is substantially
 6   limited in one or more major life activities or major bodily functions, including
 7   neurological function, operation of the central nervous system, and the ability to walk,
 8   and is an individual with a disability. 42 U.S.C. §§ 12102(1), (2); 28 C.F.R.
 9   § 36.105(d)(2)(iii).
10         23.    Patron C has been a member of LA Fitness since 2007. She visits LA
11   Fitness to use weight machines and the jacuzzi. Patron C often cannot operate the
12   jacuzzi lift independently because the remote control, battery, or other lift parts are not
13   working. Patron C can access the jacuzzi without the lift, but needs the lift to get out of
14   the jacuzzi. When the remote control is broken, Patron C uses her cell phone to call the
15   LA Fitness front desk for staff to manually move the lift chair over the water so she can
16   get out of the jacuzzi. At times she cannot reach the front desk staff for assistance.
17   When this occurs, she feels extremely fearful that she will be stuck in the jacuzzi with no
18   means to get out. Patron C values being independent, and having to rely on gym staff to
19   help her use the facility’s equipment diminishes her sense of independence.
20         24.    Defendant fails to maintain elevators in operable working condition.
21         25.    Defendant’s failure to provide operable elevators harmed Patron D and
22   other similarly situated individuals with disabilities.
23         26.    Patron D has chronic osteoarthritis in both knees and is substantially limited
24   in one or more major life activities or major bodily functions, including the abilities to
25   climb stairs and walk, and is an individual with a disability. 42 U.S.C. §§ 12102(1), (2);
26   28 C.F.R. § 36.105(d)(2)(iii).
27         27.    Patron D first joined LA Fitness in 2013 to exercise regularly to recover
28   from surgery. Patron D’s physician recommended walking in the pool as exercise. He
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 1   rejoined in 2022 once the LA Fitness near his home reopened after shutting down
 2   temporarily because of the COVID-19 pandemic. Patron D rejoined to use the pool at
 3   the LA Fitness facility to exercise. About a month after rejoining LA Fitness, Patron D
 4   observed that the elevator from the street level to the facility entrance was broken.
 5   Patron D cannot climb the stairs to the entrance because of chronic osteoarthritis. Patron
 6   D repeatedly asked about repair of the elevator in 2022 and 2023. Although he was
 7   informed several times that the elevator would be fixed “next month,” the elevator has
 8   remained broken. Patron D cannot use the pools at other LA Fitness facilities because
 9   they are too deep to walk in. As a result, Patron D has been unable to exercise at an LA
10   Fitness facility. As of late September 2024, the elevator is working.
11         28.    Defendant fails to remove architectural barriers in existing facilities where
12   such removal is readily achievable.
13         29.    Defendant fails to ensure that facilities designed and constructed facilities
14   for first occupancy after January 26, 1993, are readily accessible to and usable by
15   individuals with disabilities.
16         30.    Defendant’s failure to provide accessible facilities harmed Patron A, also
17   referenced above, as well as other similarly situated individuals with disabilities.
18         31.    Along with experiencing inoperable pool lifts, Patron A has experienced
19   barriers to using the accessible shower after she swims. Patron A went to an LA Fitness
20   facility where the shower bench in a designated accessible shower was neither centered,
21   nor close enough to the grab bar. Even after reporting the barrier, the bench remained
22   inaccessible for months and was eventually fixed in May 2023.
23         32.    At another LA Fitness facility, Patron A experienced barriers to accessing a
24   different designated accessible shower where the on/off switch and temperature controls
25   were out of reach from the shower bench. Rather than correcting the bench location,
26   Defendant installed a handheld showerhead with an off/on switch, but no temperature
27   control. These barriers made it difficult for Patron A to shower at LA Fitness locations.
28         33.    Multiple Defendant facilities in Dallas-Ft. Worth, Texas had deviations
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 1   from the 1991 ADA Standards for Accessible Design (28 C.F.R. pt. 36, appendix D) and
 2   the 2010 ADA Standards for Accessible Design (28 C.F.R. pt. 36, subpart D; 2004
 3   ADAAG at 36 C.F.R. part 1191, appendices B and D), including:
 4               a.    reach range violations, including toilet seat dispensers, wall hooks,
 5                     AED boxes, sanitizer, and soap dispensers and shower controls.
 6               b.    protrusions, including mounted wall lockers, pool emergency phones,
 7                     paper towel dispensers, and the front desks.
 8               c.    barriers in the showers including grab bars over the shower seat,
 9                     wrong height, and seat of shower, incorrect location for controls,
10                     including over grab bar; no on/off for handheld shower, roll-in
11                     shower less than 60 inches wide, transfer shower less than 36 inches
12                     wide, slope at maneuvering clearance at the shower entry, incomplete
13                     or insufficient height for grab bars.
14               d.    barriers to access in locker rooms, including inaccessible lockers,
15                     insufficient bench back support, and no pipe insulation.
16               e.    barriers to access in the water closets, including tissue dispenser
17                     location, no self-closing doors in the accessible stalls, insufficient
18                     maneuvering clearance, and incorrect side grab bar locations.
19               f.    violations at the pool deck, including pool lifts that were not
20                     operational, spa lifts that were not operational, excessive slopes at the
21                     pool decks, and a change of level at the pool lift.
22               g.    barriers at doors, including obstructed maneuvering clearance at the
23                     interior door and excessive thresholds.
24               h.    barriers to access in saunas, including incorrect bench size and
25                     height, change in level at the entry door threshold, change in level at
26                     the floor mats, less than 32” of clear width at the door, and no turning
27                     space within the sauna.
28               i.    barriers to operable parts, including inaccessible wall lockers, sauna
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 1                         controls, emergency phone boxes, and phones without volume
 2                         control.
 3                   j.    sign violations, including wrong height, no braille, and not on latch
 4                         side.
 5                   k.    barriers to drinking fountains, including insufficient knee clearance
 6                         and spout higher than 36 inches; an elevator that was out of service;
 7                         instances with no accessible seating in the lounge area.
 8                   l.    elements limiting the accessible interior route.
 9                   m.    fitness equipment stations that lacked sufficient maneuvering
10                         clearance.
11          34.      Defendant has imposed impermissible surcharges on patrons with
12   disabilities and their associates to cover the costs of measures, including barrier removal,
13   alternatives to barrier removal, and reasonable modifications in policies, practices, or
14   procedures, that are required to provide those individuals with nondiscriminatory
15   treatment under the ADA, including by charging a patron an additional fee to receive
16   assistance from his caretaker and using equipment bought by a patron’s associate for
17   barrier removal. These surcharges have harmed individuals with disabilities.
18          35.      Defendant imposed a surcharge on Patron B’s father. After waiting almost
19   a year for LA Fitness to fix the broken pool lift battery in 2022, Patron B’s father spent
20   about $500 on a battery and charging case for use at an LA Fitness facility. After that
21   facility closed, Patron B and his father began patronizing a different facility without a
22   working pool lift battery, and Patron B used the battery and charging case at that facility
23   until the pool lift broke in late 2023.
24                                      V.     CAUSE OF ACTION
25                           VIOLATIONS OF TITLE III OF THE ADA
26          36.      The preceding paragraphs are re-alleged and incorporated by reference as if
27   fully stated.
28          37.      Defendant discriminated against individuals, on the basis of disability, in
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 1   the full and equal enjoyment of the goods, services, facilities, privileges, advantages, or
 2   accommodations in violation of Title III of the ADA, 42 U.S.C. § 12182(a) and 28
 3   C.F.R. § 36.201(a).
 4          38.     Defendant denied an individual or group of individuals, on the basis of
 5   disability, with the opportunity to participate in or benefit from a good, service, facility,
 6   privilege, or accommodation, in violation of 42 U.S.C. § 12182(b)(1)(A)(i) and 28
 7   C.F.R. § 36.202(a).
 8          39.     Defendant failed to remove architectural barriers in existing facilities where
 9   such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv) and 28 C.F.R.
10   § 36.304.
11          40.     Defendant failed to ensure that facilities designed and constructed for first
12   occupancy after January 26, 1993, are readily accessible to and usable by individuals
13   with disabilities. 42 U.S.C. § 12183(a)(1) and 28 C.F.R. § 36.401(c).
14          41.     Defendant failed to maintain in operable working condition those features
15   of facilities and equipment that are required to be readily accessible to and usable by
16   individuals with disabilities. 28 C.F.R. § 36.211(a).
17          42.     Defendant imposed a surcharge on aggrieved individuals with disabilities to
18   cover the costs of measures that were required to provide them the nondiscriminatory
19   treatment required by Title III of the ADA, 42 U.S.C. § 12182(b)(2)(A)(i) and 28 C.F.R.
20   § 36.301(c).
21          43.     Defendant violated 42 U.S.C. § 12188(b)(1)(B) and 28 C.F.R. § 36.503 by
22   engaging in a pattern or practice of discrimination against individuals on the basis of
23   disability.
24          44.     Defendant’s discriminatory acts raise an issue of general public importance
25   under 42 U.S.C. § 12188(b)(1)(B)(ii).
26          45.     As a result of Defendant’s discriminatory conduct, the individuals as
27   alleged in this complaint and other similarly situated individuals suffered harm,
28   emotional distress, loss of independence, humiliation, and embarrassment. They and
                                                   10
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 1   others who were the victims of Defendant’s discriminatory practices are aggrieved
 2   individuals under 42 U.S.C. § 12188(b)(2)(B) and 28 C.F.R. § 36.503.
 3                                 VI.    PRAYER FOR RELIEF
 4          46.    Grant judgment for the United States and declare that Defendant violated
 5   Title III of the ADA, 42 U.S.C. §§ 12181-89, and its implementing regulation, 28 C.F.R.
 6   Part 36;
 7          47.    Enjoin Defendant, its officers, agents, employees, and all others in concert
 8   or participation with it, from engaging in discrimination against individuals with
 9   disabilities, and specifically from violating Title III of the ADA, 42 U.S.C. §§ 12181-89,
10   and its implementing regulation, 28 C.F.R. Part 36;
11          48.    Order Defendant, its officers, agents, employees, and all others in concert or
12   participation with it, to:
13                 a.     Modify its policies, practices, and procedures to comply with the
14                        requirements of Title III of the ADA, 42 U.S.C. §§ 12181–89, and its
15                        implementing regulation, 28 C.F.R. Part 36;
16                 b.     Remove architectural barriers in existing facilities where such
17                        removal is readily achievable. 42 U.S.C. § 12182(b)(2)(iv); 28
18                        C.F.R. § 36.304;
19                 c.     Ensure that facilities designed and constructed for first occupancy
20                        after January 26, 1993, are readily accessible to and usable by
21                        individuals with disabilities. 42 U.S.C. § 12183(a)(1); 28 C.F.R.
22                        § 36.401(c);
23                 d.     Maintain in operable working condition those features of facilities
24                        and equipment that are required to be readily accessible to and usable
25                        by individuals with disabilities. 28 C.F.R. § 36.211;
26                 e.     Cease imposition of surcharges on individuals with disabilities or
27                        their associates to cover the costs of measures, such as the provision
28                        of auxiliary aids, barrier removal, alternatives to barrier removal, and
                                                   11
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 1                   reasonable modifications in policies, practices, or procedures, that are
 2                   required to provide those individuals with the nondiscriminatory
 3                   treatment required by the ADA or its implementing regulation. 42
 4                   U.S.C. § 12182(b)(2)(A)(i); 28 C.F.R. § 36.301(c);
 5             f.    Take such affirmative steps as may be needed to restore, as nearly as
 6                   practicable, all aggrieved individuals to the position that they would
 7                   have been in but for Defendant’s conduct;
 8             g.    Award monetary damages, including compensatory damages for
 9                   emotional distress, to aggrieved individuals, under 42 U.S.C.
10                   § 12188(b)(2)(B), for injuries suffered as the result of Defendant’s
11                   violation of Title III of the ADA, 42 U.S.C. §§ 12181–89, and its
12                   implementing regulation, 28 C.F.R. Part 36;
13             h.    Assess a civil penalty against Defendant in the maximum amount
14                   authorized by 42 U.S.C. § 12188(b)(2)(C), to vindicate the public
15                   interest; and
16             i.    Order such other appropriate relief as justice may require.
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 1                            VII. DEMAND FOR JURY TRIAL
 2         Plaintiff United States demands a trial by jury.
 3
 4   Respectfully submitted this 8th day of October 2024.
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      United States Attorney                     Assistant Attorney General for Civil Rights
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